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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CaseN o.16-60l90-cr-HURLEY/I4O PK lN S


   U NITED STA TES OF A M ERICA



   VS.

   RAM ON BATISTA,

                   Defendant.
                                                           /

                                        PLEA A GREEM ENT

            TheUnitedStatesAttorney'sOfficefortheSouthernDistrictofFloridaCçthisOffice''land
   RamonBatista(hereinaherreferredtoastheççdefendanf')enterintothefollowingagreement:
               The defendantagreesto plead guilty to counts 1, 3,and 9 ofthe indictm ent. Count1

   chargesthe defendantw ith conspiracy to com m itw ire fraud and accessdevice fraud, in violation

   ofTitle 18,United StatesCode,Section 371. Count3 chargesthe defendantw ith w ire fraud,in

   violation ofTitle 18,United States Code, Sections 1343 and 2. Count9 chargesthe defendant

   with aggravated identity theq,in violation ofTitle 1B, Uni
                                                            tedStatesCode,Sections1028A(a)(1)
   and 2.

            2. ThisO ffice agreesto seek dism issalofcount2 ofthe indictm ent, asto thisdefendant,

   aftersentencing.

            3. Thedefendantisaw arethatthe sentence willbeim posed by theCourtafterconsidering

   the advisory Federal Sentencing Guidelines and Policy Statements (hereinaûer Eisentencing
   Guidelines'). The defendantacknowledges and understandsthatthe Courtwillcompute an
   advisory sentence under the Sentencing G uidelines and that the applicable guidelines w illbe
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   determined by the Courtrelying in parton theresultsofa pre-sentence investigation by theCourt's

   probation oftk e,which investigation w illcom m ence aûerthe guilty plea hasbeen entered. '
                                                                                             I'
                                                                                              he

   defendantisalso awarethat,undercertain circum stances,the Courtm ay departfrom the advisory

   sentencing guideline range thatithas com puted,and m ay raise or low erthatadvisory sentence

   underthe Sentencing Guidelines. The defendantis furtheraw are and understandsthatthe Court

   isrequired to considerthe advisory guideline range determ ined underthe Sentencing Guidelines,

   butisnotbound to im pose a sentence within thatadvisory range;the Courtisperm itted to tailor

   the ultim ate sentence in lightofotherstatutory concerns,and such sentence m ay be either more

   severe or less severe than the Sentencing Guidelines'advisory range. Know ing these facts,the

   defendantunderstandsand acknow ledgesthatthe Courthasthe authority to impose any sentence

   within and up to the statutory m axim um authorized by law forthe offensesidentifed in paragraph

    1and thatthe defendantm ay notwithdraw the plea solely asa resultofthe sentence imposed.

          4. The defendantalso understands and acknow ledges that,as to Count 1,the Courtmay

   im pose a statutory m axim um term of im prisonm ent of up to 5 years, followed by a term of

   supervised release ofup to 3 years.The defendantalso understandsand acknow ledges that,asto

   Count3,the Courtm ay impose a statutory m axim um term of im prisonm ent ofup to 20 years,

   followed by a term ofsupervised release ofup to 3 years.These sentencesof im prisonm entmay

   be run consecutively, for a total sentence of 25 years' im prisonm ent. The defendant also

   understands and acknow ledgesthat,as to Count9,the Courtm ust im pose a m andatory term of

    im prisonm ent of2 years,and m ay im pose a term of supervised release of up to 1 year. The

   defendantalso understands and acknow ledgesthatthe mandatory term ofim prisonm entim posed

   on Count9 m ust run consecutive to any term of im prisonm ent im posed on Counts 1 and 3. In

   addition to a term ofim prisonm entand supervised release,the Courtm ay im pose a fine ofup to
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   $250,000 asto Count1,afine ofup to $250,000 astoCount9,and a 5ne ofupto $250,000 or
   twicethe gross gain ortw ice the gross lossfrom the offense, w hichever isgreatest,asto Count3,

   and m ay orderrestitution.

          5. The defendantfurtherunderstandsand acknow ledgesthat, in addition to any sentence

   im posed under paragraph 4 ofthis agreem ent, a specialassessmentin the amountof$100 per

   count,foratotalof$300,willbeimposedonthedefendant. Thedefendantagreesthatanyspecial
   assessm entim posed shallbe paid atthe time ofsentencing. Ifa defendantis financially unable

   to paythe specialassessm ent,the defendantagreesto presentevidence to thisO fticeand theCourt
   atthetim e ofsentencing asto thereasons forthe defendant'sfailure to pay.

          6. ThisOffice reservesthe rightto inform the Courtand the probation oftk e ofallfacts

   pertinent to the sentencing process, including allrelevant infonnation concerning the offenses

   com m itted,whether charged or not,as w ell as concerning the defendant and the defendant's

   background. Subjectonlytotheexpresstermsofanyagreed-uponsentencingrecommendations
   contained in thisagreem ent,thisO ffk e furtherrcservesthe rightto m ake any recom m endation as

   to thequality and quantity ofpunishment.

                 This Office agrees thatitw illrecom m end atsentencing thatthe Courtreduce by

   two levelsthe sentencing guideline levelapplicable to the defendant'soffense, pursuantto Section

   3E1.1(a)oftheSentencingGuidelines,basedupon thedefendant'srecognition and affirmative
   and tim ely acceptance of personal responsibility. lf at the tim e of sentencing the defendant's

   offense level is determ ined to be 16 or greater, this Office w ill file a m otion requesting an

   additionalone leveldecrease pursuantto Stction 3E1.1(b)ofthe Sentenci
                                                                       ngGuidelines,stating
   thatthe defendanthas assisted authorities in the investigation orprosecution ofthe defendant's

   own m isconduct by tim ely notifying authorities ofthe defendant's intention to enter a plea of
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   guilty, thereby perm itting the governm ent to avoid preparing for trial and perm itting the

   government and the Courtto allocate their resources efficiently. This O ffice further agreesto

   recom m end thatthedefendantbe sentenced atthe low end ofthe guideline range, asthatrange is

   determ ined by the Court. This Office,however,w illnot be required to make this m otion and

   these recommendationsifthedefendant:(1)failsorrefusestomakea111,accurateandcomplett
   disclosure to the probation office ofthe circum stances surrounding the relevantoffense conduct;

   (2)is found to have misrepresented factsto the governmentpriorto entering into thisplea
   agreement;or(3)commitsanymisconductafterenteringintothispleaagreement,includingbut
   notlim ited to com m ittinga state orfederaloffense,violating any term ofrelease, orm aking false

   statementsorm isrepresentationsto any governm entalentity orofficial.

          8.     This O ffice and the defendant agree that,although notbinding on the probation

   offkeortheCourt,theywilljointlyrecommendthattheCourtmakethefollowingfndingsand
   conclusionsasto the sentence to be im posed:

                 a.      Loss:Thatthe relevantam ountofactual,probable or intended loss under

   Section281.l(b)(l)oftheSentencingGuidelinesresultingfrom theoffensecommittedinthiscase
   ismorethan$550,000 butlessthan $1,500,000.
                 b.      Victims:Thattheoffenseinvolved 10 ormorevictims.

                         Soohisticated M eans: Thatasubstantialpartofthe fraudulentschem ewas

   com m itted from outside the United Statesand the offense involved sophisticated m eans.

                 d.      AccessDevices:          That the offense involved the production and

   trafficking in unauthorized accessdevices.

          9.     ThedefendantagreesthatheshallcooperatefullywiththisOfficeby:(a)providing
   truthfuland com plete inform ation and testim ony, and producing docum ents,records and other
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   tvidence,whencalleduponbythisOftkt,whetherininterviews,beforeagrandjury,oratany
   trialorotherCourtproceeding;(b)appearingatsuchgrandjuryproceedings,hearings,trials,and
   otherjudicialproceedings,andatmeetings,asmayberequiredbythisOffke;and(c) ifrequested
   by thisOffke,working in an undercoverrole underthe supervision otland in compliancewith,
   law enforcem entom cers and agents. ln addition, the defendantagrees thathe willnotprotect

   any person orentity through false inform ation orom ission,thathe w illnotfalsely im plicate any

   person orentity,and thathe thathe willnotcom m itany furthercrim es.

          10.    ThisO ffk e reservesthe rightto evaluate the nature and extentofthe defendant's

   cooperation and to make thatcooperation,orlack thereotl known to the Courtatthe time of

   stntendng. IfinthesoleandunreviewablejudgmentofthisOm cethedefendant'scooperation
   isofsuch quality and significance to the investigation orprosecution ofothercrim inalmattersas

   to warrantthe Court's downward departure from the advisory sentencing range calculated under

   the Sentencing Guidelines and/orany applicable m inim um m andatory sentence, this Oftice m ay

   m akea m otion priorto sentencing pursuantto Section 5K 1. 1ofthe Sentencing G uidelinesand/or

   Title18,UnitedStatesCode,Section3553(e),orsubsequenttosentencingpursuanttoRule35of
   the FederalRules of Crim inalProcedure,inform ing the Courtthat the defendant has provided

   substantial mssistance and recom m ending that the defendant's sentence be reduced.        The
   defendantunderstandsand agrees,how ever,thatnothing in thisagreem entrequiresthisO ftk e to

   file any such m otions, and thatthis O ffice's assessm ent ofthe quality and signitk ance of the

   defendant's cooperation shallbe binding asitrelatesto the appropriateness ofthisO ftk e's filing

   ornon-tiling ofa m otion to reduce sentence.

                 The defendantunderst ndsand acknow ledgesthatthe Courtisunderno obligation

   to grantam otion forreduction ofsentence filed by thisOftk e. ln addition, the defendantfurther
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   understands and acknowledges that the Courtis under no obligation ofany type to reduce the

   defendant'ssentence becauseofthedefendant'scooperation.

          l2.    The defendant is aw are thatTitle 18,United States CodesSection 3742 and Title

   28,United StatesCode,Section 1291afford thedefendanttherightto appealthesentence imposed

   in thiscase. Acknow ledging this,in exchange forthe undertakings m adeby the United Statesin

   thisplea agreem ent,the defendanthereby waivesallrights conferred by Sections 3742 and 1291

   to appealany sentence im posed,including any restitution order,orto appealthe m annerin which

   the sentence wasim posed,unlessthe sentencc exceedsthe m aximum perm itted by statute oristhe

   resultofan upw ard departure and/or an upward variance from the advisory guideline range that

   the Court establishes at sentencing. The defendant further understands that nothing in this

   agreem entshallaffectthe governm ent'srightand/orduty to appealassetforth in Title 18,United

   StatesCode,Section 37421)andTitle28,United StatesCode,Section 1291. However,iftht
   United States appeals the defendant's sentence pursuantto Sections 37424b)and 1291,the
   defendantshallbereleased from the abovewaiverofappellate rights. By signing thisagreem ent,

   the defendantacknowledges thatthe defendanthasdiscussed the appealwaiver set forth in this

   agreem entwith thedefendant's attorney.

          l3. Thedefendantrecognizesthatpleading guilty m ay have consequencesw ith respectto

   the defendant's im m igration status ifthe defendantis nota citizen ofthe United States. Under

   federal law,a broad range of crim es are rem ovable offenses,including the offenses to w hich

   defendantispleadingguilty. Removalandotherimmigrationconsequencesarethesubjectofa
   separate proceeding,however,and defendantunderstandsthatno one,including the defendant's

   attorney or the Courq can predict to a certainty the effect ofthe defendant's conviction on the

   defendant'sim m igration status. Defendantneverthelessaffirmsthatthedefendantwantsto plead
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   guilty regardless of any im m igration consequencesthatthe defendant's plea m ay entail,even if

   the consequence isthe defendant'sautomatic rem ovalfrom theU nited States.

          14. The defendantisaware thatthe sentence has notyetbeen determined by the Court.

   Thedefendantalso isaw are thatany estim ate oftheprobablesentencing range orsentence thatthe

   defendantm ay receive,w hetherthatestimatecom esfrom thedefendant'sattorney,this Office,or

   theprobation office,isa prediction,nota prom ise,and isnotbinding on thisO ffice,the probation

   office orthe Court. The defendantunderstandsfurtherthatany recom m endation thatthisO ftk e

   m akestotheCourtasto sentencing,w hetherpursuanttothisagreem entorotherwise,isnotbinding

   on the Courtand the Courtm ay disregard the recom mendation in its entirety. The defendant

   understands and acknowledges, as previously acknow ledged in paragraph 3 above, that the

   defendantm ay notwithdraw hisplea based upon the Court's decision notto accepta sentencing

   recommendation madebythe defendant,thisOffice,orarecommendation madejointly by the
   defendantand thisOftk e.




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           l5. Thisistheentireagreem entand understanding between thisO ftk e and thedefendant.

   There areno otheragreem ents,prom ises,representations,orunderstandings.



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